                                UNITED STATES DISTRICT COURT
                                            for the
                             EASTERN DISTRICT OF NORTH CAROLINA

U.S.A. vs. Dominique Holt                                                   Docket No. 5:18-CR-395-1FL

                               Petition for Action on Supervised Release

COMES NOW Scott Plaster, U.S. Probation Officer of the court, presenting a petition for modification of
the Judgment and Commitment Order of Dominique Holt, who, upon an earlier plea of guilty to Conspiracy
to Commit Bank Fraud and Aggravated Identity Theft, was sentenced by the Honorable G. Kendall Sharp,
Senior U.S. District Judge for the Middle District of Florida, on July 16, 2014, to the custody of the Bureau
of Prisons for a term of 51 months. It was further ordered that upon release from imprisonment the defendant
be placed on supervised release for a period of 36 months.

    Dominique Holt was released from custody on October 27, 2017, at which time the term of supervised
release commenced.

    On May 8, 2018, the Middle District of Florida was notified that the defendant had been cited with
Driving While License Revoked on April 16, 2018. It was recommended that no action be taken at that
time, the defendant was verbally reprimanded, and alternatives to driving without a license were reviewed
with the defendant.

   Jurisdiction was transferred to the Eastern District of North Carolina on October 9, 2018.

    On October 10, 2018, a Violation Report was submitted to the court, advising that the defendant had
been charged with Possession of Marijuana Paraphernalia, Possession of Marijuana Up to ½ Ounce, and
Driving While License Revoked in Johnston County, North Carolina. Additionally, the defendant tested
positive for marijuana on September 12, 2018. The court was advised that the defendant was verbally
reprimanded for both driving without a license and her choice to use and possess marijuana. The court
agreed to continue supervision provided the defendant participate in the Surprise Urinalysis Program and
agree to a referral for substance abuse treatment.

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS
FOLLOWS: The defendant has agreed to submit to a substance abuse assessment and any recommended
treatment, as well as her participation in the Surprise Urinalysis Program. The defendant is unable to afford
the cost of treatment, and treatment was not ordered as a condition of supervised release when she was
originally sentenced. As a result of the defendant being charged with misdemeanor drug possession and
also testing positive for marijuana use, it is recommended that the defendant’s supervised release be
modified to include participation in substance abuse treatment, including urinalysis testing. It is also
recommended the defendant submit to warrantless searches by the United States probation officer, or the
probation officer’s designee. The defendant signed a Waiver of Hearing agreeing to the proposed
modification of supervision.

PRAYING THAT THE COURT WILL ORDER that supervised release be modified as follows:

   1. The defendant shall participate as directed in a program approved by the probation office for the
      treatment of narcotic addiction, drug dependency, or alcohol dependency which will include
      urinalysis testing or other drug detection measures and may require residence or participation in a
      residential treatment facility.


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   2. The defendant shall consent to a warrantless search by a United States probation officer or, at the
      request of the probation officer, any other law enforcement officer, of his/her, person and premises,
      including any vehicle, to determine compliance with the conditions, of this judgment.

Except as herein modified, the judgment shall remain in full force and effect.

Reviewed and approved,                               I declare under penalty of perjury that the foregoing
                                                     is true and correct.


/s/ Jeffrey L. Keller                                /s/ Scott Plaster
Jeffrey L. Keller                                    Scott Plaster
Supervising U.S. Probation Officer                   U.S. Probation Officer
                                                     310 New Bern Avenue, Room 610
                                                     Raleigh, NC 27601-1441
                                                     Phone: 919-861-8808
                                                     Executed On: October 16, 2018

                                       ORDER OF THE COURT
                                17th
Considered and ordered this _________              October
                                         day of ____________________, 2018, and ordered filed and
made a part of the records in the above case.

________________________________
Louise W. Flanagan
U.S. District Judge




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